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._~ D.C.

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cz_Eni<, u_,e. nis“i'. o'r.
oLEN M. BAlLEY, JR., rndividuaily; W'D' O""" ""t' *“Ei“‘PH'S
TEREsA w. BAiLEY, individuaiiy;
THE BAiLEY LAw FrRM,

A Professiona| Corporation
Piaintiffs

NO. 04-2395 DP
JURY DE|V|ANDED

V.

DECK - WH|TE STAT|ON TOWER, LLC;
DECK - WH|TE STAT|ON MANAGER, LLC;
KAUFMAN PROPERT|ES, lNC.;

KAUFMAN REALTY GROUP, LLC;
TRAMMELL CROW COMPANY, P.C., lNC.;
SAN|TORS, lNC.; and

JOHNIJANE DOES, individually

Defendants and Third-Party Piaintifis
v.
D.L. SCHM|TZ WATERPROOF|NG &

RESTORAT|ON COMPANY, lNC., and
KERM|T B. BUCK & SON, lNC.,

`_'\_f`-I`-J`-I`-I\-I`-I`_'\-I`_{`_#`_d`_fvvv\_r\n._¢\\_,l'\-_I'\_d'\_d`_"__,`_'

Third-Party Defendants.

 

ORDER GRANT|NG AN ENLARGEMENT OF T|ME FOR PLA!NT|FFS TO
RESPOND TO SAN|TORS' MOTION FOR SUMMARY JUDGMENT

 

On June 10, 2005, piaintiffs, Olen M. Bailey, Jr. and Teresa W. Bai|ey, filed a
motion for enlargement of time within which to respond to the |Viay 13, 2005 motion of

defendant, Sanitors, |nc. for a summary judgment On consideration of the motion and the

This document entered on the docket sheet in compliance
with Fiuie 58 and/or 79(a) FHCP on '

 

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memorandum supporting the motion, including the lack of opposition by Sanitors, |nc, the
Court is of the opinion that the motion for an enlargement of time is well taken and should
be granted Therefore, it is

ORDERED, ADJUDGED AND DECREED that plaintiffs are permitted to respond to
the May 14, 2005 Motion of Sanitors, |nc. for a summary judgment at any time on or before

August 8, 2005.

.,J-
ENTERED this g day ofJune 2005.

@i`:@ZlO,/M

` Judge

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F:\Clients\Baiiey\P|eadings\Order granting an enlargement of lime for plainan to resp. to Sanilors‘ min fur Summ. Judg..doc

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This notice confirms a copy of the document docketed as number 76 in
case 2:04-CV-02395 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

